844 @e.02 — Cace 1:25-cv-01814-BEWV UID QOVERISHEER g 06/09/28khay5 GY11 8 14

The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as req by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

I. (a) PLAINTIFFS DEFENDANTS
= .
Ekere Unyargetle [FC Kurtis Henvy
(b) County of Residence of First Listed Plaintiff County of Residence of First Listed Defendant
uSDC- BOL THIGRE (EXCEPT IN U.S. PLAINTIFF CASES} (IN U.S. PLAINTIFF CASES ONLY)
: tt NOTE: INLAND CONDEMNATION CASES, USE THE LOCATION OF
95 JUN 9 PHL To JHE TRACT OF LAND INVOLVED.
(c) Attomeys (Firm Name, Address, and Telephone Number) Attorneys (Known) H D
Rov'd by: Av
II. BASIS OF JURISDICTION (Ptace an “X” in One Box Only) I. CITIZENSHIP OF PRINCIPAL PARTIES (Pisce an “X" in One Box for Plaintiff
(For Diversity Cases Only) and One Box for Defendant)
[Ai US. Government B3 Federal Question PIF DEF PIF DEF
Plaintiff (U.S. Government Not a Party) Citizen of This State E1: £] 1 Incorporated or Principal Place [L14 (4
of Business In This State
LJ2 US. Government [14 Diversity Citizen of Another State []2 [_] 2 Incorporated andPrincipalPlace [}5 ([]5
Defendant (indicate Citizenship of Parties in Item HD of Business In Another State
Citizen or Subject of a C)3 LJ 3 Forcign Nation Lie (C]é
Foreign Country
IV. NATURE OF SUIT (Pace an “x” in One Box Only) Click here for: Nature of Suit Code Descriptions.
| . “CONTRACT? 2p “2. TORTS.” 3 FORFEITUREPENALTY._|-: ‘BANKRUPTCY! | + ..OTHER STATUTES” °-*
110 Insurance PERSONAL INJURY PERSONAL INJURY | 1625 Drug Related Seizure 422 Appeal 28 USC 158 375 False Claims Act
120 Marine 310 Airplane [[] 365 Personal Injury - of Property 21 USC 881 423 Withdrawal 376 Qui Tam (31 USC
130 Miller Act 315 Airplane Product Product Liability | ]690 Other 28 USC I57 3729(a))
140 Negotiable Instrument Liability [_] 367 Health Cares "INTELLECTUAL: , * | 400 State Reapportionment
150 Recovery of Overpayment |] 320 Assault, Libel & Pharmaceutical | __ PROPERTY RIGHTS 410 Antitrust
& Enforcement of Judgment Slander Personal Injury 820 Copyrights 430 Banks and Banking
151 Medicare Act 330 Federal Employers’ Product Liability 830 Patent 450 Commerce
H 152 Recovery of Defaulted Liability Oo 368 Asbestes Personal 835 Patent - Abbreviated 460 Deportation
Student Loans 340 Marine Injury Product New Drug Application |_| 470 Racketeer Influenced and
{Excludes Veterans) 345 Marine Product Liability 840 Trademark Corrupt Organizations
[_] 153 Recovery of Overpayment Liability PERSONAL PROPERTY |__- LABOR: 2. 880 Defend Trade Secrets |_| 480 Consumer Credit
___ of Veteran's Benefits 350 Motor Vehicle 370 Other Fraud 710 Fair Labor Standards Act of 2016 (15 USC 1681 or 1692)
|_} £60 Stockholders’ Suits 4 355 Motor Vehicle H 371 Truth in Lending Act |_| 485 Telephone Consumer
| _} 190 Other Contract Product Liability [_] 380 Other Personal 4720 Labor/Management " SOCIAL SECURITY Protection Act
|] 195 Contract Product Liability 4 360 Other Personal Property Damage Relations 861 HEA (1395i) 490 Cable/Sat TV
|_| 196 Franchise Injury [_] 385 Propesty Damage Hr Railway Labor Act 862 Black Lung (923) 850 Securities/Commodities/
|] 362 Personal Injury - Product Linbility 755 Family and Medical 863 DIWC/DIWW (405(g)) |= Exchange
Medical Malpractice Leave Act 864 SSID Title XVI |_| 890 Other Statutory Actions
ish REAL PROPERTY ‘> _., CIVIL RIGHTS«: . . PRISONER PETITIONS - | }790 Other Labor Litigation 865 RSI (405{g)) | 891 Agricultural Acts
210 Land Condemnation 440 Other Civil Rights Habeas Corpus: | _}791 Employee Retirement 893 Environmental Matters
| 220 Foreclosure 441 Voting 463 Alien Detainee Income Security Act FEDERAL TAX SUTTS 895 Freedom of Information
230 Rent Lease & Ejectment 442 Employment 510 Motions to Vacate S| 870 Taxes (U.S. Plaintiff Act
| |240 Torts to Land 443 Housing/ Sentence or Defendant) -| 896 Arbitration
| | 245 Tort Product Liability Accommodations [7] 530 General f | 871 IRS—Third Party 899 Administrative Procedure
[| 290 All Other Real Property [| 445 Amer. w/Disabilities -[7 ] 535 Death Penalty IMMIGRATION 26 USC 7609 Act/Review or Appeal of
Employment Other: 462 Natuyalization Application Agency Decision
“| 446 Amer, w/Disabilities - | 540 Mandamus & Other 465 Other Immigration | | 950 Constitutionality of
Other 550 Civil Rights Actions State Statutes
|_| 448 Education $55 Prison Condition
560 Civil Detainee -
Conditions of
Confinement

V. ORIGIN (Place an “X™ in One Box Only)
i Original Li? Removed from oO 3 Remanded from Li4 Reinstated or Oo 5 Transferred from oO 6 Mulktidistrict Oo 8 Multidistrict
Proceeding State Court Appellate Court Reopened Another District Litigation - Litigation -
(specify) Transfer Direct File
Cite the U.S. Civil Statute under which you are fling (De rot cite jurisdictio tes unless diversity):

ional stetze!
42 US.C § 19% 3

VI. CAUSE OF ACTION

Brief description of cause: e e
Tiles al Sesture of Ye Painhlt

VII. REQUESTED IN [] CHECKIFTHISIS A CLASSACTION DEMAND § CHECK YES only if demanded in complaint:

COMPLAINT: UNDER RULE 23, F.R.Cv.P. JURYDEMAND: [bites [No
VII. RELATED CASE(S)

IF ANY insinuctions): GE DOCKET NUMBER
DATE 6 9 2 _ SIGNATURE OF ATTORNEY OF RECORD —

— F-20995

FOR OFFICE USE ONLY iv

RECEIFT # AMOUNT APPLYING IFP JUDGE MAG. JUDGE

